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                 4                                     UNITED STATES DISTRICT COURT
                 5                                            DISTRICT OF NEVADA
                 6                                                        ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:13-CR-18 JCM (GWF)
                 8                                               Plaintiff(s),                       ORDER
                 9               v.
               10        LEON BENZER, et al.,
               11                                              Defendant(s).
               12
               13                Presently before the court is defendan
               14       pending appeal. (Doc. # 774). The government filed a response, (doc. # 779), and defendant filed
               15       a reply and a supplement to his reply. (Docs. # 780, 782).
               16          I.         Background
               17                The facts of the instant case are familiar to the court and the parties. On January 26, 2015,
               18       defendant entered into a plea agreement and entered his guilty plea to four charges of the
               19       indictment on January 27, 2015. (Doc. #774).
               20                On July 20, 2015, defendant was sentenced to 30 months per count to run concurrently,
               21       followed by three years of supervised release per count to run concurrently. (Doc. # 711). On
               22       September 7, 2015, defendant filed a notice of appeal. (Doc. # 759).
               23          II.        Legal Standard
               24                A person who has been found guilty of an offense and sentenced to a term of imprisonment
               25       should be detained pending appeal, unless the court finds:
               26
               27                (A) by clear and convincing evidence that the person is not likely to flee or pose a
                                 danger to the safety of any other person or the community if released . . . . ; and (B)
               28                that the appeal is not for the purpose of delay and raises a substantial question of
                                 law or fact likely to result in (i) reversal, (ii) an order for a new trial, (iii) a

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                1               sentence that does not include a term of imprisonment, or (iv) a reduced sentence
                                to a term of imprisonment less than the total of the time already served plus the
                2               expected duration of the appeal process.
                3     18 U.S.C. § 3143(b).

                4               A defendant has the burden of proving that a substantial question exists. United

                5     States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985). A substantial question is one that is

                6                                                 Id.

                7                                                  Handy, present an appeal that will likely be successful,

                8     only a non-                                                                            result in reversal

                9                                                        United States v. Garcia, 340 F.3d 1013, 1021 n.5

              10      s(9th Cir. 2003).

              11
              12      Handy, 671 F.2d at 1282 n.1. Further, to show entitlement to release or bond pending appeal, the

              13      defendant must present a substantial question as to all counts on which imprisonment has been

              14      imposed. Id. at 1283.

              15         III.      Discussion

              16                    a. Flight Risk

              17                The parties agree that defendant is not a significant flight risk or a danger to the community.

              18      Accordingly, the remaining question before the court is whether the appeal raises a substantial

              19      question of law or fact such that reversal is likely. 18 U.S.C. § 3143(b)(1)(B).

              20                    b. Substantial question of law

              21                In his appeal, defendant challenges his sentencing guideline calculation, which included a

              22      two-point upward adjustment of his offense level for ten or more victims pursuant to U.S.S.G. §

              23      2B1.1(b)(2)(A)(i). (Doc. # 774).                                                                        -

              24      point upward adjustment by counting the targeted HOA communities instead of the individual

              25      victims. Revised PSR at 78. Defendant argues that this calculation is contrary to Ninth Circuit

              26      precedent. (Doc. #774).

              27                In order to be counted as a victim for the purposes of U.S.S.G. § 2B1.1(b)(2), a person

              28                                                                   herwise readily measurable in money and


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                1                                                          United States v. Armstead, 552 F.3d 769, 780-
                2     81 (9th Cir. 2008); United States v. Pham, 545 F.3d 712, 722 (9th Cir. 2008). Defendant argues
                3     that because the Vistana was the only HOA community for which he was held accountable, there
                4     was only one victim for the purposes of U.S.S.G. § 2B1.1 (b)(2) and he should not have qualified
                5     for the two level sentencing enhancement. (Doc. #774).
                6            Without release pending appeal, defendant argues that he might serve more time than a
                7     potential reduced sentence would permit. (Doc. #774) In order to justify this argument, defendant
                8     speculates as to the result of his appeal. If he wins on appeal his offense level would be lowered
                9     from Level 19 to Level 17, lowering the guideline range from 30 to 37 months to 24 to 30 months.
              10      He then assumes that, because this court granted him the low end of the guideline range the first
              11                                                                                                       e
              12      conspiracy, this court decides to apply the low end of the guideline range, defendant would receive
              13      a 24 month sentence, 6 months less than his current 30 month sentence. (Doc. #774).
              14             The government                                                 nes calculation should have
              15      been higher than what he received, he fails to raise a substantial question that could result in a
              16      reduced sentence as required by 18 U.S.C § 3143(b). The government maintains that it is highly
              17                                           upon appeal      would result in a sentence of probation or a
              18      reduced sentence. (Doc. #779). Defendant not only was a significant leader in a conspiracy that
              19      victimized thousands, but he was involved in victimizing over 250 individuals who suffered actual
              20      loss at Vistana, and that is the number he should be held accountable for. Indeed, the government
              21      notes, if the victim enhancement is scrutinized, the Ninth Circuit may likely find that this court
              22      would have been within its discretion to apply the 6-point victim enhancement. (Doc. 779).
              23
              24                                                             A mere two-level enhancement was quite
              25                  by both probation and this court. Defendant was involved in a massive, fraudulent
              26      scheme with                           PSR at 78.
              27
              28

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                1                In determining its sentencing recommendation, probation counted only the HOA
                2     communities as actual victims. PSR at 78. Over ten HOAs suffered actual loss at the hands of the
                3     conspiracy led, in part, by defendant. Defendant does not contest that the homeowners associations
                4     are the appropriate entities to count. Indeed, if probation and this court had instead counted the
                5     number of actual victims, as permitted by U.S.S.G. § 2B1.1(b)(2), defendant would have faced an
                6     enhancement three times higher than what he received.
                7                Because the defendant pled guilty to conspiracy, he is responsible for all of the
                8     communities involved in the fraudulent scheme. Id. Therefore, probation did not count just the
                9     Visitana, but rather all of the HOAs that suffered loss. This was explained to defendant at
              10      sentencing; indeed, defendant acknowledged that he should be held responsible for the entire loss
              11      perpetrated by the conspiracy, particularly since he was a leader of the conspiracy. Sent. Trans. at
              12      6.
              13                                                      eduction on appeal is that the Vistana HOA should
              14
              15      determined based upon the injuries of the homeowners associations caused by the conspiracy,
              16      which included over ten communities. Furthermore, even if defendant prevails on appeal, he may
              17      not receive a reduced sentence as his original 30 month sentence is still within the reduced
              18      guideline range proffered. For this reason, defendant has not met his burden of proving that a
              19
              20      appeal.
              21           IV.      Conclusion

              22                 Accordingly,
              23
              24      bail pending appeal, (doc. # 774), be, and the same hereby is, DENIED.
              25                 DATED November 24, 2015.
              26
              27                                            ___________________________________________
                                                            UNITED STATES DISTRICT JUDGE
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